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Attorneys for National Board of Medical Examiners


               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

TESSA ZOLNIKOV,

              Plaintiff,
                                               CV-22-35-BLG-SPW-TJC
      vs.
                                               NOTICE OF REMOVAL
NATIONAL BOARD OF MEDICAL
EXAMINERS,

              Defendant.


      Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, the National Board of

Medical Examiners (“NBME”) files this Notice of Removal to remove the action

titled Tessa Zolnikov v. National Board of Medical Examiners, Docket No. DV-20-

100, from the Montana Fourteenth Judicial District Court, Musselshell County, to

the United States District Court for the District of Montana, Billings Division.

This Court has original jurisdiction under 28 U.S.C. § 1331, because Plaintiff’s




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Complaint asserts claims under the Rehabilitation Act and the Americans with

Disabilities Act, both of which are federal statutes.

      In support of this Notice of Removal, NBME respectfully states as follows:

      A.      Background

      1.      Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,

pleadings, and orders served upon NBME in the state court action are attached

hereto at Exhibit A.

      2.      In her State Court Complaint, Plaintiff states that she is a medical

student at the University of Washington School of Medicine. Ex. A, Complaint ¶

2. She alleges that she is required to take and pass three tests administered by

NBME as part of her medical school requirements. Id. ¶ 6. Plaintiff requested

testing accommodations from NBME, including extra testing time, on two tests

(“Step 1” and “Step 2”) based on an assertion that she has generalized anxiety

disorder and post-traumatic stress disorder.       Id. ¶¶ 8-9, 22.    NBME denied

Plaintiff’s requests. Id. ¶¶ 16, 25.

      3.      Plaintiff passed both the Step 1 and Step 2 tests without testing

accommodations. Id. ¶¶ 19, 25. Nevertheless, Plaintiff claims to have suffered

damage based on NBME’s denial of her requests, and she seeks compensatory and

punitive damages in her complaint. Id. ¶¶ 26, 32, 36.

      4.      In removing this action, NBME denies that it has violated any laws.



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      B.      Federal Question Jurisdiction

      5.      Plaintiff asserts two claims in her Complaint: (1) “Count I - Violation

of the Rehabilitation Act” and (2) “Count II - Violation of the Americans with

Disabilities Act.”

      6.      Plaintiff’s first claim is raised under Section 504 of the Rehabilitation

Act, 29 U.S.C. § 794. Her second claim is raised under the Americans with

Disabilities Act, 42 U.S.C. § 12189.

      7.      Plaintiff’s claims arise under federal law. This Court, therefore, has

original jurisdiction over Plaintiff’s action pursuant to 28 U.S.C. § 1331. Removal

to this Court is proper under 28 U.S.C. § 1441(a).

      C.      Timeliness of Removal and Non-Waiver of Defenses

      8.      This action was originally filed by Plaintiff on December 3, 2020, in

the Montana Fourteenth Judicial District Court, Musselshell County, and assigned

docket number DV-20-100.

      9.      Removal of this action is timely. NBME received and was served

with a copy of the Complaint and Summons on March 24, 2022. This Notice of

Removal is being filed within 30 days after receipt of the Complaint by NBME and

within 30 days after service of the summons on NBME.                See 28 U.S.C. §

1446(b)(1).




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      10.      By removing this action to this Court, NBME does not waive and

expressly reserves all defenses available to it.

      D.       Propriety of Removal to This Court

      11.      The Montana Fourteenth Judicial District Court, Musselshell County,

is located within the District of Montana, Billings Division. Pursuant to 28 U.S.C.

§ 1441(a), this action is properly removed to this Court.

      E.       Notice to State Court and Plaintiff

      12.      Pursuant to 28 U.S.C. § 1446(d) and Local Rule 3.3, NBME will

promptly (and within seven days) file a copy of this Notice of Removal with the

Montana Fourteenth Judicial District Court, Musselshell County. NBME will also

promptly provide Plaintiff with written notice of the filing of this Notice of

Removal.

                                   CONCLUSION

      For the foregoing reasons, NBME respectfully removes this action to the

United States District Court for the District of Montana, Billings Division, and

respectfully requests that no further proceedings be held in this action in the

Montana Fourteenth Judicial District Court, Musselshell County.

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DATED this 20th day of April, 2022.

                                            /s/ Mark D. Parker
                                            Mark D. Parker
                                            Attorneys for National Board of
                                            Medical Examiners




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                        CERTIFICATE OF SERVICE
      I hereby certify that the foregoing Notice of Removal was served on the

following recipient on this 20th day of April, 2022 by placing a true and correct

copy of same in the U.S. mail, postage prepaid:

      Robert Farris-Olsen
      Morrison Sherwood Wilson Deola, PLLP
      401 N. Last Chance Gulch
      Helena, MT 59601

      Attorney for Petitioner Tessa Zolnikov



                                                  /s/ Mark D. Parker




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